                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In the matter of:
                                               Case No. 21-41356-MLO
Peters Building Company                        Chapter 7
                                               Judge: Maria L. Oxholm
                    Debtor(s)
________________________/



                           Notification of Intent to File Final Report

TO THE CLERK OF THE COURT:

This is to inform the Court that the Final Report and Account for this estate will be filed within
(90) days from the date of this notice.


Dated: 07/15/2022                                     /s/ Douglas Ellmann
                                                      Douglas S. Ellmann, Trustee
                                                      Ellmann & Ellmann, P.C.
                                                      2075 W. Stadium Blvd., #1088
                                                      Ann Arbor, MI 48103
                                                      734.668.4800
                                                      dse@ellmannlaw.com




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